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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

                      Plaintiff,
                                                          Case No. 1:20-cv-03590-JEB
                 v.

 META PLATFORMS, INC.,

                      Defendant.


                            DEFENDANT’S NOTICE OF MOTION
                          FOR ISSUANCE OF LETTERS OF REQUEST

        Defendant Meta Platforms, Inc. (“Meta”) respectfully requests that this Court execute,

under its seal and signature, the attached letters of request for International Judicial Assistance

under the Hague Convention on Taking of Evidence Abroad in Civil or Commercial Matters

(“Hague Evidence Convention”) to non-parties located in China and the British Virgin Islands.

The requests seek documents and/or deposition testimony from three overseas entities:

        ByteDance Ltd.
        43 N 3rd Ring Rd W
        ShuangYuShu, Haidan Qu
        Beijing, China

        Telegram
        Vistra Corporate Services Centre
        Wickhams Cay II, Road Town
        Tortola, British Virgin Islands, VG 1110

        Tencent
        Tencent Binhai Building, No. 33
        Haitian Second Road, Shenzhen, China

        For the reasons set forth in more detail in the accompanying Memorandum of Points and

Authorities, Meta respectfully requests that the Court grant this motion and execute the attached

letters of request.


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       Pursuant to D.D.C. Local Rule 7(m), Meta hereby states that it conferred with the FTC

about this motion and that the FTC does not oppose the motion.



 Dated: June 16, 2022                      Respectfully Submitted,

                                          By: /s/ Mark C. Hansen
                                              Mark C. Hansen (D.C. Bar No. 425930)
                                              KELLOGG, HANSEN, TODD,
                                              FIGEL & FREDERICK, P.L.L.C.
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                                                  Counsel for Defendants Meta Platforms, Inc.




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